  Case 1:13-cv-08012-CM-DCF Document 158 Filed 10/10/18 Page 1 of 3




                          ## ## #  #
                          ##  # # # #     #



"M"M+>.M#")&'M" M

$<+8>F82EM                                               +E/M"@ MM8I MM


!+D8+M*M/FM+< M

/0/>.+>FE M



                                   !##"# #
                                    # !"!##

MHM%8>6C8>6M./-<+D/M+EM4<<@JEM
               M+=MF7/MHE8>/EEM!+>+6/DM8>MF7/M /6+<M/B+DF=/>FM@0M78>+M@>EFDH-F8@>M+>:

MJ78-7M8EM+M>@>B+DFLMF@MF78EMBD@-//.8>6 M (7/MM /6+<M/B+DF=/>FM8EMD/EB@>E8,</M4DM

/>EHD8>6M EM</6+<M -@=B<8+>-/MJ8F7M+BB<8-+,</M<+JEM8>MF7/M $/@B</EM &/BH,<8-M @0M78>+M+>.M

=+>+68>6M EM </6+<M BD@-//.8>6EM M 7+I/M ;>@J</.6/M @0M F7/M =+FF/DEM ./E-D8,/.M 8>M F78EM

./-<+D+F8@> M

              M EH,=8FM F78EM ./-<+D+F8@>M 8>M EHBB@DGM @0M M +>.M F7/M @F7/DM "@>B+DFLM +?E

@,9/-F8@>M F@M!+68EFD+F/M H.6/M D//=+>EM '/BF/=,/DM M M !/=@D+>.H=M +>.M #D./DM @>M F7/M

"@>B+DGLM +>:EM !@F8@>M F@M %H+E7M F7/M 'H,B@/>+EM +>.M !@.85M F7/M 8>+<M #D./DM +>.M $<+8>F83

EE86>//M"/KFM>I/EF=/>FEM     EMEE86>//MD@EE=@F8@>MF@M@=B/< M

               >M =LM ./-<+D+F8@>M 8>M EHBB@DFM @0M F7/M "@>B+DFLM +>:EM !@F8@>M F@M %H+E7M F7/

'H,B@/>+EM+>.M!@.80LMF7/M8>+<M#D./DM.+F/.M/,DH+DLMMMM/KB<+8>/.MF7+FMM-@H<.M>@FM

.8E-<@E/M.@-H=/>FEM +>.M8>1AD=+F8@>MD/<+F8>6MF@MH.6=/>FM/,F@DM+--@H>FEM<@-+F/.M8>M78>+M8>M

D/EB@>E/MF@MEE86>//EMEH,B@/>+M@DMD/EFD+8>MF7/E/M+--@H>FEM,/-+HE/MEH-7M.8E-<@EHD/M@DMD/EFD+8>FM
  Case 1:13-cv-08012-CM-DCF Document 158 Filed 10/10/18 Page 2 of 3




H2B0:DBL DB0:=2K B2:8L#JL B0&L028&A&L.:G&@&8BLH:D6%LG2:6 B&L028 AL# 8528.L6 HAL 028 AL

:77&=$2 6L 85L HL 8%L# 8528.L=&.D6 B2:8AL AL$:%2)3&%L#JLB0&L&:;6&AL 85L:'L028 L 8%L

B0&L028 L 8528.L 8%L8AD= 8$&L&.D6 B:=JL:772AA2:8L=&<D2=&LAD$0L%2A$6:AD=&L:=L=&AB= 28BLB:L

#&L%2=&$B&%L#JL L028&A&L4D%2$2 6L%&; =B7&8BL:=L L$:7;&B&8BL.:G&?7&8B 6L:=. 8L AL2%&8B2,&%L28L

B0&L ;;62$ #6&L6 HAL 8%L=&.D6 B2:8A L %%2B2:8 66JL B0&LD8 DB0:=2K&%L=&AB= 28BL 8%L%2A$6:AD=&L:'L

$DAB:7&=L $$:D8BL28(:=7 B2:8LH:D6%LG2:6 B&LB0&L#!95AL$DAB:7&=L .=&&7&8BA L

              L AD#72BL B02AL %&$6 = B2:8L B:L &I;6 28L B0 BL L 0 AL D8%&>B 5&8L $&>C 28L 7& AD=&A

8:8&B0&6&AAL B:L %%=&AAL B0&L ;=:#6&7AL =&6 B28.L B:L $:D8B&>(&2B28.L 2%&8B2,&%L #JL AA2.8&&L 28L 2BAL

AD#;:&8 L 8%L 28L2BAL:B0&=LAD#72AA2:8ALB:LB02AL:E=B L L0 ALD8%&=C 5&8LB0&A&L7& AD=&AL28L L

7 88&=L$:8A2AB&8BLH2B0L028&A&L6 H L

               A&%L:8LB0&LAD#;:&8 L 8%L$:D=BL:=%&=LL0 AL2%&8B2,&%L 66LB0&L:H8&=AL:'LB0&

 $$:D8BAL62AB&%L28LBB $07&8BLLB:LB0&LAD#;:&8 L2AAD&%LB:LL 8%L;6 $&%L 66L:'LB0&LD%.7&8BL

&#B:=AL2%&8B2)3&%L:8L B0&L # 85AL #6 $562AB L AL L =&AD6BL :'LB02AL #6 $562ABL%&A2/ B2:8L B0&L

D%.7&8BL&#B:=L $$:D8BL 0:6%&=AL $ 88:BL :;&8L 8&HL $DAB:7&=L $$:D8BAL BL B0&L # 85L :=L =&<D&ABL

 %%2B2:8 6L,8"$2 6LA&=G2$&ALAD$0L AL ;;6J28.L-=L$=&%2BL$ =%L:=L6: 8LA&=G2$&A L

              L2ALH26628.LB:L$::;&= B&LH2B0LAA2.8&&LB:LB 5&L %%2B2:8 6L7& AD=&ALB:L$:7# B

*F>C0&=L $BAL:'L$:D8B&=+2B28.L#JLB0&A&LD%.7&8BL&#B:=ALA:L6:8.L ALB0&A&L7& AD>&AL$:7;6JLH2B0L

028&A&L6 H L D$0L7& AD=&AL28$6D%&LB0&L;=:%D$B2:8L:'L%:$D7&8BAL 8%L28(:=7 B2:8L=&6 B28.L B:L

B0&LD%.7&8BL&#B:=AL;D=AD 8BLB:L 8L ;;62$ B2:8LAD#72BC&%LD8%&=LB0&L .D&L:8G&8B2:8L:8LB0&L

 528.L:'LG2%&8$&L#=: %L28L2G26L 8%L:77&=$2 6L BB&=ALA0:D6%LB0&L:D=CL;&=72BL%2A$:G&=JL

B1:D.0LB02AL7& 8A L




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  Case 1:13-cv-08012-CM-DCF Document 158 Filed 10/10/18 Page 3 of 3




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